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    ORDERED in the Southern District of Florida on January 12, 2017.




                                                           John K. Olson, Judge
                                                           United States Bankruptcy Court
_____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

   IN RE:                                                CASE NO 14-12147-JKO
   RALPH L. SANDERS                                      CHAPTER: 13

         DEBTOR(S).
   __________________________/

      ORDER CONTINUING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          THIS CASE came before the Court for a hearing on January 9, 2017 upon the Motion
   for Relief from the Automatic Stay (On Basis of Final Report MMM Indicating Not Agreement)
   filed by The Bank of New York Mellon, f/k/a The Bank of New York, successor in interest to
   JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset Backed Securities Trust 2006-
   SD2 (“Movant”) on December 2, 2016 (DE #68). The Court hearing argument of counsel and
   being otherwise fully advised on the premises, it is:
          ORDERED:
          1.      The hearing on the Motion for Relief from the Automatic Stay is continued to
   February 6, 2017 at 1:00pm at the following location:
      U.S. Courthouse, 299 E Broward Blvd Room 301(JKO), Fort Lauderdale FL 33301
                                                   ###
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Attorney Jeffrey S. Fraser Esq., is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.

Submitted By:
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